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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re:                                                  )
                                                        )
BADLANDS ENERGY, INC.                                   )     Case No. 17-17465-KHT
EIN: XX-XXXXXXX,                                        )     Chapter 11
                                                        )
         Debtor.
                                                        )
                                                        )
In re:
                                                        )
                                                        )     Case No. 17-17467-KHT
BADLANDS PRODUCTION COMPANY
                                                        )     Chapter 11
EIN: XX-XXXXXXX,
                                                        )
         Debtor.                                        )
                                                        )
In re:
                                                        )
                                                        )     Case No. 17-17469-KHT
BADLANDS ENERGY-UTAH, LLC
                                                        )     Chapter 11
EIN: XX-XXXXXXX,
                                                        )
         Debtor.                                        )
                                                        )
In re:
                                                        )
                                                        )     Case No. 17-17471-KHT
MYTON OILFIELD RENTALS, LLC
                                                        )     Chapter 11
EIN: XX-XXXXXXX,
                                                        )
         Debtor.                                              Jointly Administered Under
                                                        )
                                                              Case No. 17-17465-KHT
                                                        )


          NOTICE OF SUBMISSION OF PURCHASE AND SALE AGREEMENT
                          AND EXHIBITS THERETO
                        (Badlands Production Company)


         Badlands Energy, Inc., and its affiliates, as debtors and debtors in possession in the above-

captioned Chapter 11 cases (collectively, the “Debtors”), respectfully submit the complete

Purchase and Sale Agreement, attached hereto as Exhibit A, and state:

         1.        On August 14, 2017, the Debtors filed their Motion for Entry of an Order (a)

Approving the Purchase and Sale Agreement Between Badlands Production Company and the

Successful Auction Bidder, (B) Authorizing the Sale of Substantially All of its Property Pursuant



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Thereto, Free and Clear of Liens, Claims, Encumbrances, and Interests, (C) Authorizing the

Assumption and Assignment of Contracts, and (D) Granting Related Relief (the “Sale Motion”).

See Dkt. #18. A copy of the Purchase and Sale Agreement, without the voluminous exhibits and

schedules, was attached as Exhibit A to the Sale Motion. See Dkt. #18-1.

        2.         On August 14, 2017, Debtors served a copy of the Notice Pursuant to Local

Bankruptcy rules 2002-1, 6004-1, and 9013-1 of the Sale Motion (the “Notice”) to all parties in

interest and creditors of Badlands Production Company, as is shown on the certificate of service

filed with the Notice. See Dkt. #19.

        3.         Debtors respectfully submit the complete Purchase and Sale Agreement, together

with all exhibits and schedules thereto, attached hereto as Exhibit A, to accompany the Sale

Motion.

        WHEREFORE, Debtors respectfully submit the attached Purchase and Sale Agreement

and exhibits and schedules as a supplement to the Sale Motion.

        Dated: August 22, 2017.

                                              LINDQUIST & VENNUM LLP

                                              By:    /s/Theodore J. Hartl
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                                              Proposed Counsel for the Debtors




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